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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION at LEXINGTON


CRIMINAL ACTION NO. 5:10-cr-78-KSF-1


UNITED STATES OF AMERICA,                                                            PLAINTIFF,


V.                         MAGISTRATE JUDGE’S REPORT
                             AND RECOMMENDATION


MAL ERIC WALTON,                                                                  DEFENDANT.
      aka Fat Daddy,


                                ***** ***** ***** ***** *****

       Mal Eric Walton, proceeding pro se, brings this action pursuant to 28 U.S.C. § 2255

seeking to vacate, set aside, or correct his sentence. [Record No. 518]. Having been fully briefed,

this matter is now ripe for review. Consistent with local practice, the matter has been referred to

the undersigned to prepare a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B).

For the reasons discussed below, it is recommended that Walton’s motion be denied.

                          I. FACTUAL & PROCEDURAL HISTORY

          On November 18, 2010, Mal Eric Walton pled guilty to one count of conspiracy to

distribute fifty (50) grams of crack cocaine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)

and one count of maintaining drug-involved premises within 1,000 feet of a school, in violation

of 21 U.S.C. §§ 856(a)(1) and 860(a)(1). [Record No. 311]. As part of his plea agreement,

Walton waived his right to appeal and collaterally attack his guilty plea, conviction, and
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sentence.1 [Record No. 313; see also Record No. 549, at 6]. The plea agreement also set forth

that because of his two prior drug felony convictions, and pursuant to 18 U.S.C. § 851, he faced

a statutory minimum sentence of life imprisonment.[Record Nos. 313; 549, at 5; 7].

        Thereafter, prior to his sentencing hearing, the United States made a motion to depart

from the mandatory life sentence. [Record No. 550, at 16]. And, based on Walton’s PSR, his

probation officer recommended his offense level be increased by four (4) levels based on his role

as a leader in a conspiracy which involved five (5) or more participants, pursuant to United

States Sentencing Guideline (U.S.S.G) §3B1.1(a). Walton’s counsel, Fred Peters, filed two

objections to the Pre-Sentence Investigation Report (PSR). [See Record Nos. 416; 550, at 1-14].

Peters specifically objected to the imposition of the four-level enhancement based on Walton’s

leadership role in the conspiracy. [Record No. 556, at 1]. During Walton’s sentencing hearing,

the Court conducted an evidentiary hearing on counsel’s objection to this enhancement and

ultimately overruled the objection. [See Record Nos. 416, 453; 550]. On February 25, 2011, the

Court sentenced Walton to 216 months imprisonment followed by five (5) years supervised

release on each count, to run concurrently. [Record No. 460].

        On March 5, 2012, Walton filed the instant motion to vacate. [Record No. 518]. As

grounds, Walton sets forth two (2) claims: (1) trial counsel was constitutionally ineffective for

failing to object to the sentencing enhancement for a leadership role during sentencing; and (2)

trial counsel was constitutionally ineffective for failing to challenge the PSR and inadequately

represented Walton at sentencing. Because Walton’s allegations were not supported by facts, the

Court ordered him to show case why his motion should not be dismissed. [Record No. 521]. In


1
 The Government has not asserted that Walton waived his right to file the current Section 2255 motion. The Court
has not brought up waiver sua sponte because the government bears the burden of showing that the petitioner’s plea
was voluntary, intelligent, and knowing. Stumpf v. Mitchell, 367 F.3d 594, 600 (6th Cir. 2004), vacated in part on
other grounds by Bradshaw v. Stumpf, 545 U.S. 175 (2005).


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accordance with the Court’s order, Walton has supplemented his motion to vacate, explaining his

grounds for relief. [Record No 533]. Therein, he sets forth four (4) claims: (1) trial counsel was

constitutionally ineffective for failing to apprise Walton of his PSR as required by Fed. R. Crim.

P. 32, and as a result, Walton did not have the opportunity to review, read and/or challenge the

PSR [Id. at 1]; (2) trial counsel was constitutionally ineffective for failing to advise Walton of all

of the penalties he would incur as a result of his plea, and as a result, he did not enter into a

voluntary and knowing plea of guilty [Id.]; (3) trial counsel provided ineffective assistance of

counsel for failing to provide Walton a copy of his case file so he could adequately prepare the

instant motion to vacate [Id. at 2]; and (4) by withholding discovery, counsel has provided

ineffective assistance, and the government and the Court have committed a Brady violation for

failing to disclose evidence material to Walton’s guilt. [Id. at 2-3]. In close, Walton requests an

evidentiary hearing to establish whether or not he has received a copy of his legal file, whether

counsel was constitutionally ineffective, and to determine if he was able to view his PSR as

required by Fed. R. Crim. P. 32.

      The United States has responded in opposition to Walton’s pending motion to vacate, as

read with his supplement. [Record No. 556]. According to the United States, Walton has not set

forth a factual basis for his ineffective assistance of counsel claims. [Id.]. The Government

points out that Walton’s counsel specifically objected to the PSR and, at sentencing, to the four-

level enhancement based on Walton’s leadership role in the conspiracy. In fact, the Government

contends that the Court conducted an evidentiary hearing on this objection that lasted over two

hours. As such, according to the Government, Walton fails to satisfy the requirement of

Strickland, and his pending motion to vacate should be dismissed or denied. See Strickland v.

Washington, 466 U.S. 668, 692 (1984).




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      Walton has replied to the Government’s response, expounding on the factual basis of his

pending claims. [Record No. 572]. Walton also sets forth three (3) new grounds for habeas

relief: (1) the Court misjudged the impact of his interactions with various parties and assigned

his leadership role in error [Id. at 7]; [(2) there was an overstatement of the drug quantity

attributed to Walton, and as a result, his sentence was excessive [Id. at 7]; and (3) counsel

provided constitutionally ineffective assistance by failing to advocate Walton’s eligibility for

benefit of the Fair Sentencing Act of 2010, and, because of this, his sentence is greater than

necessary. [Id. at 8].

        Significantly, in the midst of briefing the instant Section 2255 motion, on April 23, 2012,

Walton filed a Motion for Reduction of his Sentence pursuant to the Fair Sentencing Reform

Act. The United States initially opposed this motion [Record No. 538], but pursuant to the

United States’ Supreme Court’s ruling in Dorsey v. United States, 132 S. Ct. 2321, 2329 (2012),

amended its response to reflect that Walton’s 216 month sentence did run afoul of the Fair

Sentencing Act. [Record No. 590]. Accordingly, on September 13, 2013, the Court resentenced

Walton to a term of 150 months imprisonment to be followed by five (5) years supervised

release. [Record No. 662].

        Walton has indicated to the Court that his resentencing did not render any of the claims

pending in his Section 2255 motion moot. [Record Nos. 665; 676]. The matter is now submitted

to the undersigned for a recommended disposition.

                                  II. STANDARD OF REVIEW

        To prevail upon his pending motion for habeas relief under 28 U.S.C. § 2255, Walton

must allege that: (1) his conviction resulted from an error of constitutional magnitude; (2) his

sentence was imposed outside the statutory limits; or (3) an error of fact or law occurred that was




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so fundamental as to render the entire proceedings invalid. Mallett v. United States, 334 F.3d

491, 496-97 (6th Cir. 2003), cert. denied, 540 U.S. 1133 (2004); see also Moss v. United States,

323 F.3d 445, 454 (6th Cir.), cert. denied, 540 U.S. 879 (2003). He must sustain his allegations

by a preponderance of the evidence. This being a pro se petition, the undersigned is mindful that

it is held to a less stringent standard than those drafted by legal counsel and such pleadings are

entitled to a liberal construction that includes all reasonable inferences that can be drawn from

them. See Haines v. Kerner, 404 U.S. 519, 520 (1972).

       Walton cannot utilize this § 2255 motion to re-litigate an issue that was raised and

considered on appeal, absent highly exceptional circumstances, such as an intervening change in

the law. Stephan v. United States, 496 F.2d 527, 528-29 (6th Cir. 1974), cert. denied, 423 U.S.

861 (1975); see also United States v. Prichard, 875 F.2d 789, 790-91 (10th Cir. 1989). Nor may

he use this § 2255 motion as a substitute for bringing a direct appeal. Reed v. Farley, 512 U.S.

339, 354 (1994). A federal prisoner’s failure to raise a claim on direct appeal results in a

procedural default of that claim. Bousley v. United States, 523 U.S. 614, 621 (1998); Peveler v.

United States, 269 F.3d 693, 698 (6th Cir. 2001); Phillip v. United States, 229 F.3d 550, 552 (6th

Cir. 2000). To avoid procedural default, the petitioner must first show cause to excuse the failure

to raise the claim on direct appeal and actual prejudice resulting from the alleged violation. Reed

512 U.S. at 354.

       Importantly, this cause and prejudice showing is not a prerequisite for claims related to

the ineffective assistance of counsel. In fact, ineffective assistance of counsel claims are not

cognizable in a direct appeal because the record is generally inadequate to permit review.

Massaro v. United States, 538 U.S. 500, 504-05 (2003); United States v. Combs, 369 F.3d 925,

940 (6th Cir. 2004); United States v. Brown, 332 F.3d 363, 368-69 (6th Cir. 2003). Such claims




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are properly reviewed in this § 2255 proceeding. Massaro, 538 U.S. at 504; Combs, 369 F.3d at

940; Brown, 332 F.3d at 369; see also Ciak v. United States, 59 F.3d 296, 303-04 (2nd Cir. 1995)

(noting that it is not realistic to expect appellate counsel, who served as the defendant’s trial

counsel, to raise an ineffective assistance of counsel claim on direct appeal).

                                          III. ANALYSIS

        A liberal construction of Walton’s filings reveals a total of nine (9) claims for habeas

relief. Walton presents six (6) of these claims in his initial motion to vacate and his supplement:

         (I) Trial counsel was constitutionally ineffective for failing to object to the
        sentencing enhancement for a leadership role during sentencing;

        (II) Trial counsel was constitutionally ineffective for failing to challenge the PSR
        and inadequately represented Walton at sentencing;

        (III) Trial counsel was constitutionally ineffective for failing to apprise Walton of
        his PSR as required by Fed. R. Crim. P. 32, and as a result, Walton did not have
        the opportunity to review, read and/or challenge the PSR;

        (IV) Trial counsel was constitutionally ineffective for failing to advise Walton of
        all of the penalties he would incur as a result of his plea, and as a result, he did
        not enter into a voluntary and knowing plea of guilty;

        (V) Trial counsel provided ineffective assistance of counsel for failing to provide
        Walton a copy of his case file so he could adequately prepare the instant motion
        to vacate; and

        (VI) By withholding discovery, counsel has provided ineffective assistance of
        counsel, and the government and the Court have committed a Brady violation for
        failing to disclose evidence material to Walton’s guilt.

[Record Nos. 518, 533]. The final three (3) claims are presented for the first time in Walton’s

reply brief :

        (VII) The Court misjudged the impact of Walton’s interactions with various
        parties and assigned his leadership role in error;

        (VIII) There was an overstatement of drug quantity attributable to Walton, and as
        a result, his sentence was excessive; and




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         (IX) Trial counsel provided constitutionally ineffective assistance of counsel by
         failing to advocate Walton’s eligibility for benefit of the Fair Sentencing Act of
         2010, and, because of this, his sentence is greater than necessary.

[Record No. 572].

        Because Walton’s petition is held to a less stringent standard than those drafted by legal

counsel, the Court will address the grounds he asserts in his initial motion, his supplement, as

well as his reply.2 [Record Nos. 518, 533, 572].

              GROUNDS I-VI and IX - INEFFECTIVE ASSISTANCE OF COUNSEL

         Walton’s Grounds I-VI and IX all assert that he received ineffective assistance of

counsel, and will be addressed, in turn, below. The purpose of the Sixth Amendment’s guarantee

of counsel is to ensure that a defendant has the assistance necessary to justify reliance on the

outcome of the proceeding against him. Strickland v. Washington, 466 U.S. 668, 692 (1984).

Any deficiencies in counsel’s performance must be prejudicial to the defendant in order to

constitute ineffective assistance. Id. Accordingly, in order for Walton to have his conviction

overturned based upon his ineffective assistance of counsel claims, he must demonstrate two

elements: (1) counsel’s performance was so defective that he/she was not functioning as counsel

as guaranteed under the Sixth Amendment; and, (2) prejudice resulted from the defective

performance. Id. at 688.




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  Generally, because Walton raised claims VII, VIII and IX for the first time in his reply, after the United States has
already had the opportunity to address his grounds for habeas relief, these claims would be subject to waiver and
barred from review. Sanborn v. Parker, 629 F.3d 554, 579 (6th Cir. 2010) cert. denied Sanborn v. Parker, 181 L. Ed.
2d 353, 2011 U.S. LEXIS 7726 (U.S., 2011) (declining to review arguments raised for the first time in Petitioner’s
reply in the briefing of his 28 U.S.C. § 2254 petition) (citing Am. Trim, L.L.C. v. Oracle Corp., 383 F.3d 462, 477
(6th Cir. 2004); see Sailing v. Budget Rent-A-Car Sys., Inc., 672 F.3d 442, 444 (6th Cir. 2012) ("Arguments raised
only in reply, and not in the original pleadings, are not properly raised before the district court . . . " (quoting
Travelers Prop. Cas. Co. of Am. v. Hillerich & Bradsby Co., 598 F.3d 257, 275 (6th Cir. 2010)). In the interests of
justice, because Walton is proceeding pro se, the Court will address the claims. This will also serve to fully dispose
of Walton’s habeas petition. Importantly, addressing the merits of Walton’s claims does not run afoul of judicial
economy.



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       Under this Strickland analysis, the performance inquiry focuses on whether counsel’s

assistance was reasonable considering the totality of the circumstances. Id. at 688. The prejudice

inquiry focuses on whether the defendant is able to establish a reasonable probability that, but

for counsel’s unprofessional errors, the result of the proceedings would have been different. Id.

at 694. A reasonable probability is a probability sufficient to undermine confidence in the

outcome. [d. at 692. Hence, an error by counsel, even if professionally unreasonable, does not

warrant setting aside the judgment of a criminal proceeding if the error did not affect the

judgment. Id. at 691.

       In the guilty plea context, while the performance prong of the Strickland test remains the

same, to establish prejudice the petitioner “must show that there is a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and would have insisted on going to

trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985); accord Griffin v. United States, 330 F.3d 733,

737 (6th Cir. 2003). “A defendant challenging his attorney’s conduct during plea bargaining,

moreover, ‘must show that counsel did not attempt to learn the facts of the case and failed to

make a good faith estimate of a likely sentence. He must also show that his lawyer’s deficiency

was a decisive factor in his decision to plead guilty.’” Pough v. United States, 442 F.3d 959, 966

(6th Cir. 2006) (quoting United States v. Cieslowski, 410 F.3d 353, 358-59 (7th Cir. 2005)); see

also Smith v. United States, 348 F.3d 545, 553-54 (6th Cir. 2003). (counsel’s failure to provide

professional guidance to a defendant regarding his sentence exposure prior to rejecting a plea

offer may satisfy both the performance and prejudice prongs of the Strickland test).

       Significantly, both prongs of the test must be met for a finding of ineffective assistance,

but courts are not required to conduct an analysis under both; the court need not address the

question of competence if it is easier to dispose of the claim due to the lack of prejudice.




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Strickland, 466 U.S. at 697; Baze v. Parker, 371 F.3d 310, 321 (6th Cir. 2004). Also, the

reviewing court “should recognize that counsel is strongly presumed to have rendered adequate

assistance and made all significant decisions in the exercise of reasonable professional

judgment.” Strickland. 466 U.S. at 690. “Defendants alleging the ineffective assistance of

counsel bear ‘a heavy burden of proof.’” Pough 442 F.3d at 966 (citing Whiting v Burt, 395 F.3d

602, 617 (6th Cir. 2005)).

Ground I

    In ground I, Walton asserts trial counsel was constitutionally ineffective for failing to object,

at sentencing, to the sentencing enhancement imposed as a result of his leadership role in the

conspiracy. [Record No. 518, at 5]. In his reply brief, Walton explains that he means counsel

failed to present a proper, “Strickland level” objection. According to Walton, Peters should have

argued precisely “why a four-level enhancement was improper, or why prosecution witness

proffer statements were unreliable, or that the Movant’s plea was factually circumscribed in

extrapolation of alleged drug quantities by the tangible prosecution evidence.” [Record No. 533,

at 2].

         As outlined in detail above, to establish ineffective assistance of counsel on this claim,

Walton bears the burden of establishing that counsel’s assistance was unreasonable considering

the totality of the circumstances. Strickland 466 U.S. at 688. Walton must also establish a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceedings

would have been different. Id. at 694. Walton cannot meet this burden.

     First of all, Walton’s claim is inaccurate. The record clearly reveals that Peters specifically

objected, in written objections before sentencing and at the sentencing hearing, to the four-level

enhancement of Walton’s sentence based on the finding that he acted in a leadership role in the




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conspiracy. [See Record Nod. 416; 550, at 13-16]. The Court conducted an evidentiary hearing

specifically on this objection. [Id. at 16-93]. Beyond Walton’s assertion of deficiency, there is no

evidence in support of his argument that counsel’s performance in making this objection was

unreasonable.

   Even assuming, without finding, that counsel’s representation in making this objection did

not meet the standard reasonably to be expected under these circumstances, this claim clearly

fails on the prejudice element of Strickland. There is no evidence counsel’s alleged error affected

the outcome of the Court overruling the objection. In overruling Peters’ objection, the Court

relied on the facts Walton admitted in his plea agreement and the requirements of United States

Sentencing Guideline § 3B1.1(a). According to U.S.S.G. § 3B1.1(a), “…if the defendant was an

organizer or leader of a criminal activity that involved five or more participants or was otherwise

extensive, increase [the offense level] by 4 levels.” The Court reasoned that Walton’s plea

agreement, on its own, affirmatively indicated that Walton’s conspiracy involved five (5)

participants and could be sufficient for imposition of the four-level enhancement, reasoning as

follows:

       In the plea agreement, Mr. Walton admits that he sold small amounts of crack
       cocaine, pills, and marijuana from inside the – grocery store. That’s one. Mr.
       Walton also utilized numerous individuals…as drug runners…for him during the
       same time frame. Some of these individuals include but are not limited to Antonio
       Robinson, two: Ralph Black, three, Eric Badgett, four. Then we go down to
       Jashaun Thomas, Walton also allowed – and I am looking at the plea agreement
       here – Walton also allowed several individuals including but not limited to
       Jashaul Thomas and Eric Badgett, to sell drugs inside Oliver’s Grocery. Walton
       agreed to sell 50 grams or more of crack cocaine with Thomas and others and so
       we can say we have five there, which is sufficient..

[Record No. 550, at 92-93].

      In assessing Walton’s ineffective assistance of counsel claim, this Court cannot now find

that had counsel argued the way Walton now contends, there is a reasonable probability of a



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different outcome. No amount of counsel’s artful pleading would have changed the facts as they

had been admitted by Walton in the plea agreement. Walton simply fails to provide sufficient

factual or legal basis to find ineffective assistance of counsel on ground I.

Ground II

      Similarly, Walton asserts trial counsel provided ineffective assistance of counsel for failing

to challenge his PSR and inadequately represented him at sentencing. As with ground I, this

claim is not supported by fact. First of all, the record clearly establishes that Peters objected, in

written objection to the PSR before sentencing. As discussed previously, counsel specifically

objected to the four-level enhancement of Walton’s sentence based on the finding that he acted

in a leadership role in the conspiracy. [See Record Nos. 416; 550, at 13-16]3. Counsel also

objected to the computation of Walton’s criminal history category under 21 U.S.C. § 851.

[Record. No. 550, at 3-6]. The court conducted a two (2) hour hearing on Walton’s sentencing,

during which counsel affirmatively responded to the Court’s questioning that he had reviewed

the PSR with Walton. [Record No. 550, at 13]. Moreover, a review of the record reveals that

counsel provided competent representation during Walton’s sentencing. During the hearing,

counsel clearly articulated an argument based on Walton’s personal history and characteristics in

efforts to convince the Court to sentence him within the applicable guideline range [Record No.

550, at 94-96]. In addition, counsel made clear, appropriate objections throughout the hearing

and specifically during the Government’s questioning of Agent Mercer, the one (1) witness

called to prove Walton as a leader of the conspiracy. [Record No. 550, at 17-61]. Finally, it must

be noted that prior to the hearing, counsel successfully worked with Walton and the United

States to negotiate a motion to depart from the mandatory life sentence Walton was facing based


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 Counsel’s objections are not filed into the record, but may be inferred from the United States response to Peters’
objections and the Court’s discussion of his objections at sentencing. [Record No. 416].


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on his past felony drug convictions. Accordingly, Walton only faced a guideline range of 168 to

210 months. [Record No. 550, at 16; 113]. Ultimately, Walton received a sentence of 216

months, a sentence only slightly above this guideline range and far less than the life sentence he

originally faced. [Record No. 550, at 16].

       Looking at Walton’s argument in light of the record, this Court cannot find counsel’s

representation during sentencing to be deficient. Moreover, Walton makes no showing as to how

counsel’s alleged errors prejudiced the outcome of his sentencing. Accordingly, Walton has

failed to meet his burden under Strickland, and ground II provides no basis for habeas relief.

Ground III

       Related to grounds I and II, in ground III, Walton alleges that trial counsel was

constitutionally ineffective for failing to apprise him of his PSR as required by Fed. R. Crim. P.

32, and as a result, he did not have the opportunity to review, read and/or challenge the PSR.

This claim, again, is unsupported by fact. Counsel indeed challenged the PSR, raising two (2)

objections. Based on these objections, the court conducted a two (2) hour hearing on Walton's

sentencing. In addition, during this hearing, counsel affirmatively responded to the Court's

questioning that he had reviewed the PSR with Walton. [Record No. 550, at 13]. On these facts,

Walton is unable to establish that counsel's performance in reviewing/challenging the PSR is

deficient. Moreover, Walton makes no argument as to how his failure to personally read and

challenge the PSR prejudiced his the outcome of his sentencing. Walton simply cannot prove

ineffective assistance of counsel as alleged in ground III. Therefore, it provides no basis for

habeas relief.




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Ground IV

        In ground IV, Walton alleges that trial counsel provided constitutionally ineffective

assistance of counsel for failing to apprise him of all the penalties he would incur as a result of

his plea, and as a result, his plea was unknowing and involuntary. In support, Walton alleges

that counsel failed to advise him of all the maximum penalties, “including imprisonment time,

enhancements, fines, and or supervised release” in violation of Fed. R. Crim. P. 11.4 [R. 533, at

2]. This representation is disputed by the record.

        The record reveals that Walton was well aware that at the time of his guilty plea, he faced

a minimum life sentence based on his two prior drug felonies pursuant to the sentencing

enhancement set forth in 21 U.S.C. § 851. Prior to his rearraignment proceeding, the United

States filed notice of its intent to seek an enhanced sentence pursuant to 21 U.S.C. § 851 into the

record. [Record No. 307]. The Government also included reference to the 851 enhancement in

Walton’s guilty plea. [Record No. 549, at 7]. In addition, at the time Walton pled guilty, both the

United States and the Court summarized the possible penalties Walton faced. The Assistant

United States Attorney summarized the potential penalties Walton faced as follows:

        With regard to count one, because the defendant has two prior drug felony
        convictions, the statutory punishment is not less than life in prison and a fine of
        not more than $8 million...with regard to count three, because the establishment
        was within 1,000 feet of a school, the statutory punishment is not less than ten
        years in prison nor more than life in prison, a fine of not more than $8 million, or
        both, and a term of supervised release of not less than ten years...Also, the
        defendant acknowledges that he does have two prior drug felony convictions
        which are final and is therefore subject to the enhanced statutory penalty...he
        acknowledges that the previous notice that’s been field is sufficient.




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 According to Fed. R. Crim. P. 11, (b)(1()(H), a defendant entering a guilty plea must be advised of “any maximum
possible penalty, including imprisonment, fine, and term of supervised release.”


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[Record No. 549, at 6-8]. The Court affirmed Walton’s understanding that he indeed had two

prior drug felonies which subjected him to the life sentence as summarized by the United States.

The Court also inquired as tot he voluntariness of Walton’s plea:


          The Court: All right. Has anyone – let me ask you again, has anyone made any
          promises to you that are different from those that are set out in the plea
          agreement?

          Walton: No.

          The Court. Okay. Has anyone attempted to force you to plead guilty?

          Walton: No.

The Court then reaffirmed Walton’s understanding of the possible penalties he faced in pleading

guilty:

          The Court All right. Now, I want to talk to you about the statutory punishment
          you are looking at here -

          Walton: Yes.

          The Court: –even though Miss Hawkins has already mentioned it. Now with
          regard to count one, because you have two prior drug felony convictions, you are
          looking at a punishment of not less than life in prison, a fine of not more than $8
          million and a mandatory special assessment of $100. Do you understand that?

          Walton: Yes.

          The Court: Alright. Now, with regard to count three, you are looking at a
          statutory punishment of not less than ten years, no more than life, a fine of not
          more than $8 million, or both, and a term of supervised release of not less than
          ten years and a special assessment in the amount of $100. Do you understand
          that?

          Walton: Yes.

[Record No. 549, at 8-10]. The fact that after Walton’s rearraignment the United States moved

to depart from his minimum life sentence, and that his offense level was later increased by his

role as a leader of the conspiracy does not change that Walton understood at the time of his plea



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that he was facing a statutory minimum life sentence. [See Record No. 550, at 16]. His claim to

the contrary is simply unconvincing. Hence, Walton has failed to prove any deficiency in

counsel’s performance based on his misunderstanding of the penalties he faced at the time of his

rearraignment.

       Walton also fails on the prejudice prong of the Strickland test. As mentioned above, to

establish the prejudice prong of the Strickland, Walton “must show that there is a reasonable

probability that, but for counsel’s errors, he would not have pleaded guilty and would have

insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985); accord Griffin v. United

States, 330 F.3d 733, 737 (6th Cir. 2003). Walton has made no claim that he would have insisted

on going to trial had he understood all of the “sentencing enhancements” he faced at the time of

sentencing. In fact, Walton explains in his reply that he “clearly intended to plead to conspiracy

as indicated in the indictment” though he disputes the drug amount attributed to him for

sentencing purposes. [Record No. 572, at 1]. Ground IV is not a basis for habeas relief.

Ground V

       In Ground V, Walton claims counsel provided constitutionally ineffective assistance for

failing to provide Walton a copy of his case file so he could adequately prepare the instant

motion under Section 2255. This claim is unsupported by the record and not a basis for relief.

Prior to filing the instant motion, Walton filed a motion requesting a copy of his legal file,

indicating he needed this file to prepare a motion to vacate pursuant to 28 U.S.C. § 2255.

[Record No. 504]. In response, counsel certified that Walton had been mailed a copy of the non-

classified portion of his legal file on more than one occasion. [Record Nos. 506; 513; 515].

Counsel went as far as to provide correspondence he sent to Walton which documented the fact

that he had previously provided him the case file as well as a supporting affidavit. [Record Nos.




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506-1; 513]. The Court denied Walton’s motion as moot, finding that counsel had previously

provided Walton with his file. [Record No. 510]. Walton then filed a motion for the court to

reconsider its ruling, asserting that counsel’s representation he had previously furnished Walton

with his case file were untrue. [Record Nos. 511; 516]. Based on counsel’s documentation,

sworn statements, and credibility, the Court denied Walton’s motion to reconsider. [Record No.

516]. At this stage, Walton merely makes bald, unsupported assertions that he never received

his case file. This Court also relies on counsel’s documentation and certifications that Walton

has been provided a copy of his case file. There is no basis on which to find deficient

performance under Strickland.

      Moreover, even assuming Walton’s failure to receive his case file in no way prejudiced the

proceeding against him. In order to find ineffective assistance of counsel as set out by Strickland,

Walton must establish that there is a reasonable probability that, but for counsel's unprofessional

errors, the result of the proceeding against him would have been different. Strickland, 466 U.S.

at 694. The proceeding at issue is not the instant Section 2255 motion, but rather, Walton’s

criminal conviction and sentence. In fact, in § 2255 proceedings, there is no constitutional right

to counsel. see Pennsylvania v. Finley, 481 U.S. 551, 555 (1987); Cobas v. Burgess, 306 F.3d

441, 444 (6th Cir. 2002). The fact that Walton allegedly had no access to his case file after the

disposition of his criminal matter necessarily could not have affected his guilty plea and

sentence, as those proceedings had already occurred. Indeed, he has made no argument to that

effect. Ground V is simply not a basis for relief.

Ground VI

       Relatedly, Walton claims counsel, the court, and the government have committed a Brady

violation for failing to provide him with his case file. He asserts that his lack of access to his




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case file effectively results in counsel’s, the court’s, and the Government’s failure to disclose

evidence favorable to him. He provides little context to his claim, but a brief review of the record

reveals it has no merit.

     First of all, there is simply no support for Walton’s claimed violation of Brady v. Maryland,

343 U.S. 83 (1963). Brady governs the prosecution’s failure to disclose evidence favorable to an

accused which is either material to guilt or to punishment, irrespective of the good faith or bad

faith of the prosecution. Id. at 87. Walton present no more than a bald allegation of error here.

During sentencing, the United States affirmatively indicated that if it was in possession of any

evidence exculpatory to Walton’s guilt, it would have been provided to defense counsel. [Record

No. 550, at 72]. On these facts, there is simply no basis to find that the prosecution was in

possession of evidence favorable to Walton’s defense.

     Additionally, a review of Walton’s pleadings reveals he may be confused as to his access to

the confidential parts of his case file. The record reveals, however, that Walton was never

actually denied access to any information contained therein. As detailed in the discussion of

Ground V, counsel certified that he had provided Walton all non-confidential parts of his case

file on numerous occasions. In response to Walton’s request for his case file, it should be noted

that counsel also filed a Motion to Release Discovery to Defendant, effectively asking the Court

to set aside a previously imposed protective order which precluded counsel from sending Walton

certain confidential parts of his file. [Record No. 507]. The Government objected, and the Court

ultimately denied counsel’s motion, reasoning that Walton previously had access to all of these

confidential materials and there was a protective order in place to prevent the disclsure of

materials in place to protect cooperating witnesses. [Record No. 510]. The fact that certain

materials could not be disseminated post trial, pursuant to the protective order, has no bearing on




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the fact that Walton previously had the opportunity to review all of his discovery materials with

defense counsel. Hence, beyond Walton’s bald assertion that he has been denied access to

evidence favorable to his defense, there is no evidence in the record on which to find that

Walton did not have access to his entire case file, or that the Government withheld evidence

favorable to Walton’s defense in violation of Brady v. Maryland. The claim is baseless, and,

accordingly, ground VI provides no basis for habeas relief.

Ground IX

         In Ground IX, Walton argues that trial counsel provided constitutionally ineffective

assistance of counsel for failing to argue his eligibility for benefit of the Fair Sentencing Act at

his sentencing on February 25, 2011. Based on the law at the time of Walton’s sentencing, this is

incorrect. Prior to the United States’ Supreme Court’s ruling in Dorsey v. United States, 132 S.

Ct. 2321, 2329 (2012), the Fair Sentencing Act was not considered retroactively applicable. In

United States v. Carradine, 621 F.3d 575 (6th Cir. 2010), the United States Court of Appeals for

the Sixth Circuit specifically held that the Fair Sentencing Act does not apply to anyone who

committed their crack offense before August 3, 2010. Walton’s indictment alleged that he

committed the crimes to which he eventually pled guilty to have occurred from July 2006

through June 2010. [Record Nos. 243; 311]. It was not until after Walton’s sentencing hearing

that the Supreme Court held that the Fair Sentencing Act of 2010 applies to defendants who are

initially sentenced after the Act’s enactment date. See Dorsey, 132 S. Ct. at 2335. Accordingly,

it was reasonable for trial counsel to choose not to argue Walton’s eligibility to the Act. Walton

has failed to establish deficient performance under Strickland.

       Significantly, it must be noted that Walton’s subsequently filed motion to be re-sentenced

under the Fair Sentencing Act was granted by this Court on February 5, 2013, and his sentence




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was reduced based on the Fair Sentencing Act from 216 months to 150 months incarceration.

[Record Nos. 591; 662]. Accordingly, though counsel committed no error in failing to argue

Walton’s eligibility for the Fair Sentencing Act at sentencing, any prejudice resulting from the

subsequent retroactive applicability of the Act has been rectified. Therefore, claim IX provides

Walton no basis for further relief.

REMAINING CLAIMS

        Notably, because Walton did not file a direct appeal, the merits of his remaining claims

should not be reviewed by this Court. See Reed v. Farley, 512 U.S. 339, 354 (1994). As Walton

did not assert these claims until his reply, however, the Government did not assert the defense of

procedural default to prevent such review. The Supreme Court has held that federal courts are

not required to address a procedural default issue before deciding against the petitioner on the

merits. Lambrix v. Singletary, 520 U.S. 518, 525 (1997). In line with Sixth Circuit precedent,

this Court will proceed with review of Walton’s remaining two (2) claim on the merits as the

procedural default analysis is complicated and unnecessary to the Court’s determination of the

case. Hudson v. Jones, 351 F.3d 212, 215-16 (6th Cir. 2003); accord Mahdi v. Bagley, 522 F.3d

631, 635 (6th Cir. 2008).

Ground VII

            In ground VII, Walton alleges the Court committed error in enhancing his offense level

by four (4) levels pursuant to U.S.S.G. § 3B1.1(a). In support, Walton asserts the Court’s use of

“five individuals” to deem him a leader of the conspiracy as “arbitrary.”[Record No. 572, at 6-

7]. This argument is without merit as Walton’s understanding of the sentencing enhancement is

in error.




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         First of all, the definition of a leadership or organizational role is broad and does not

require that defendant have direct control over others in conspiracy. United States v Horne

(1993, CA8 Minn) 4 F3d 579, cert. denied (1994) 510 US 1138 (1994). The commentary to

U.S.S.G. § 3B1.1provides:

       In distinguishing a leadership and organizational role from one of mere
       management or supervision, titles such as "kingpin" or "boss" are not controlling.
       Factors the court should consider include the exercise of decision making
       authority, the nature of participation in the commission of the offense, the
       recruitment of accomplices, the claimed right to a larger share of the fruits of the
       crime, the degree of participation in planning or organizing the offense, the nature
       and scope of the illegal activity, and the degree of control and authority exercised
       over others. There can, of course, be more than one person who qualifies as a
       leader or organizer of a criminal association or conspiracy. This adjustment does
       not apply to a defendant who merely suggests committing the offense.

U.S.S.G. § 3B1.1, comment. (n.4). Furthermore, according to U.S.S.G. § 3B1.1(a),, “…if the

defendant was an organizer or leader of a criminal activity that involved five or more

participants or was otherwise extensive, increase [the offense level] by 4 levels.”

         In Walton’s case, the Court specifically relied on the facts as he admitted in his plea

agreement in determining his leadership role and calculating the the number of participants in his

conspiracy. The Court found Walton’s plea agreement, on its own, to be sufficient for imposition

of the four-level enhancement, but noted that even more evidence existed in support of the

enhancement. The Court reasoned as follows:

       In the plea agreement, Mr. Walton admits that he sold small amounts of crack
       cocaine, pills, and marijuana from inside the – grocery store. That’s one. Mr.
       Walton also utilized numerous individuals…as drug runners…for him during the
       same time frame. Some of these individuals include but are not limited to Antonio
       Robinson, two: Ralph Black, three, Eric Badgett, four. Then we go down to
       Jashaun Thomas, Walton also allowed – and I am looking at the plea agreement
       here – Walton also allowed several individuals including but not limited to
       Jashaul Thomas and Eric Badgett, to sell drugs inside Oliver’s Grocery. Walton
       agreed to sell 50 grams or more of crack cocaine with Thomas and others and so
       we can say we have five there, which is sufficient. But the Agent Mercer talked in




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         terms of several other runners5…O’Dell Cosby is six, Richard Davis is
         seven….So I don’t see any reason to go any further with this. I am convinced the
         probation officer properly, in paragraph 23, charged the four-point adjustment to
         Mr. Walton.

[Record No. 550, at 92-93].

       In the current proceeding, Walton has not pointed this Court to an error of constitutional

magnitude or one which renders his proceeding invalid or proof that his sentence was imposed

outside the statutory limits based on the court’s reasoning here. Indeed, the court’s application of

the requirements of U.S.S.G. § 3B1.1 to the facts as Walton stipulated to in his plea agreement is

reasonable and sound. Walton’s plea specifically indicated he “utilized” numerous individuals

as ‘drug runners,” he allowed individuals to sell drugs in his grocery store, he personally sold

drugs from inside his grocery story, and enumerated four additional participants to be engaged in

the conspiracy to sell drugs. Moreover, testimony adduced at the sentencing hearing indicated a

sixth and seventh participant in the conspiracy. Accordingly, Walton has failed to meet his

burden of proving error in the Court’s reasoning on his U.S.S.G. § 3B1.1 enhancement, and

ground VII provides no basis for habeas relief.

Ground VIII

        In ground VIII, Walton alleges the court committed error in attributing 50 grams of crack

cocaine in determining his sentence, and as a result, he received a disproportionately high

sentence. According to Walton “the alleged gram count of 50 grams, as stated in the plea, was a

concession in name only.” According to Walton, there was only quantifiable evidence of 2.8


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 At the hearing on Peters’ objection, the Government called Agent Eric Mercer, a special agent with the Bureau of
Alcohol, Tobacco, Firearms, and Explosives, who had participated in investigating Walton’s drug-trafficking
activity. The United States asked Agent Mercer about personal surveillance, a pole camera that was set up for
several months, and statements by Walton’s co-defendants which revealed Walton had allowed co-defendants to use
his vehicle, a Cadillac, to allow runners, these co-defendants, to deliver narcotics in and around the surrounding area.
[Record No. 550, at 23-24]. The Court asked Mercer, “Who specifically did you talk to who told you that with the
defendant's permission they used his automobile to do drug deals?” [Id. at 24 ;15-17]. Mercer replied with three
names: Antonio Robinson, O'Dell Cosby, and Richard Davis. [Id., at 24 ;15-25-25:1-3].


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grams of the drug sold by him, and the Court’s assignment of 196-240 grams of crack cocaine

was not supported by a preponderance of the evidence. This argument is misguided and disputed

by the record, as Walton stipulated to a relevant conduct drug quantity of 196-240 Grams of

cocaine base (crack cocaine).

        While Walton pled guilty to one count of conspiracy to distribute fifty (50) grams of

crack cocaine, in violation of 21 U.S.C. §§ 846 and 841(b0(1)(A), in his written plea agreement,

he and the Government agreed that the total amount of relevant conduct Walton would be

responsible for was between 196 and 240 grams of the drug. [Record Nos. 313; 549, at 66]. The

sentencing court was well within its discretion to accept this relevant conduct determination as

fact. According to U.S.S.G. §6B1.4(a), a plea agreement may be accompanied by a written

stipulation of facts relevant to sentencing, including the relevant facts and circumstances of the

actual offense conduct and offender characteristics. According to U.S.S.G. §6B1.4(a)(d), the

court is not bound by the stipulation, but may with the aid of the presentence report, determine

the facts relevant to sentencing. When the drug quantities provided to the court by the PSR are

not challenged and when the PSR utilizes the drug amounts contained in the plea agreement, the

court has every reason to believe that those quantities provided a reliable basis for determining a

defendant’s sentence. United States v. Treadway, 328 F.3d 878, 886 (6th Cir. 2003) (citing

United States v. Tarwater, 308 F.3d 494, 518 (6th Cir. 2002)).

        Here, the relevant conduct determination as contained in the PSR was never challenged.

In addition, the Defendant affirmatively accepted the 196-240 gram count when entering his

guilty plea. During rearraignment, the United States explicitly stated that the parties had agreed


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  On the record, the AUSA mispoke, stating that the relevant conduct was from 196 to 840 grams. The PSR explains
that paragraph 7c of the written plea agreement contained a typographical error with regard to the amount of cocaine
base. The plea agreement should read that Walton’s relevant conduct included 196 grams andnot more than 240
grams of crack cocaine.


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to this amount of relevant conduct. And, before taking Walton’s plea, the court affirmed with

Walton that the United States had accurately summarized his plea agreement as he understood it.

[Record No. 549, at 6]. Thereafter, during the rearraignment proceeding, the United States

summarized the facts which the Government could prove against Walton that he stipulated to in

his plea agreement. The United States summarized as follows:

       Between January 1st of 2007 and June 15th of 2010, Walton sold small amounts of
       crack cocaine, pills, including Lortabs, and marijuana from inside Oliver’s
       Grocery. Walton also utilized numerous individuals as drug runners for him
       during the same time frame. Some of the individuals include but are not limited to
       Antonio Robinson, Ralph black and Eric Badgett. Walton also agreed with
       Jashaun Thomas and others to obtain large amounts of crack cocaine for the
       purpose of distributing crack cocaine in Paris, Kentucky, and surrounding
       areas....Walton agreed to sell 50 grams or more of crack cocaine with Thomas and
       others. Walton allowed 500 grams or more of crack cocaine to be sold in and
       outside the area of Oliver’s Grocery by others between approximately January 1st,
       2007 and June 15th, 2010. On March 19, 2009, State Police utilized a confidential
       informant to make a purchase of a quantity of pills containing Hydrocodone from
       Mr. Walton and Ralph Black...The informant then purchased 34 pills from
       Walton and Black for $750 inside of the grocery store...Then on April 15th, 2009,
       State Police utilized an informant to make a purchase of cocaine form Mr.
       Walton. The informant met Walton inside of Oliver’s Grocery store and
       purchased approximately 1 gram of cocaine for $100 from him. The suspected
       cocaine was sent to the State Police Forensic Laboratory for analysis and
       determined to be 1.5 grams of cocaine...And finally, on June 7th, 2009, State
       Police utilized an informant to make an undercover purchase of crack cocaine and
       a firearm from Walton and Mr. Fields...The suspected cocaine was submitted to
       the Kentucky State Police Forensic Laboratory and determined to be 5.4 grams of
       crack cocaine.

[Record No. 549, at 15-18]. The Court then affirmed that Walton believed the Government

would be able to prove each of these facts against him. [Record No. 549, at 18].

      In addition, Walton’s PSR utilized the plea agreement’s relevant conduct determination.

This 196 gram to 240 gram relevant conduct agreement resulted in a base offense level of 30.

The offense level was increased by two (2) points based on the grocery store’s close proximity to

Paris High School, increased by four (4) pointed based on Walton’s leadership role, and




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decreased by three 3) points based on his acceptance of responsibility, resulting in an offense

level of 33. With a criminal history category of III, this resulted in a guideline range of 168-210

months incarceration.7 Walton ultimately received a sentence of 216 months, only six (6) months

above the guideline range. His sentence has since been significantly reduced to 150 months.

           Having reviewed the record and applicable law, this Court finds Walton has failed to

allege an error of constitutional magnitude or prove that his sentence was imposed outside the

statutory limits. Accordingly, ground VIII provides no basis for habeas relief.

PETITIONER’S REQUEST FOR AN EVIDENTIARY HEARING

           It is unnecessary to grant Walton’s request for an evidentiary hearing. A federal court

reviewing a Section 2255 motion should not conduct a hearing when "the motion and the files

and records of the case conclusively show that the prisoner is entitled to no relief." Fontaine v.

United States, 411 U.S. 213, 215 (1973) (citation omitted). See also Blanton v. United States, 94

F.3d 227, 235 (6th Cir. 1996) (holding that "evidentiary hearings are not required when . . . the

record conclusively shows that the petitioner is entitled to no relief."). Only "where there is a

factual dispute” must “the habeas court must hold an evidentiary hearing to determine the truth

of the petitioner's claims." Turner v. United States, 183 F.3d 474, 477 (6th Cir. 1999) (citing

Paprocki v. Foltz, 869 F.2d 281, 287 (6th Cir.1989)). Here, the Court’s judgment denying

Walton’s habeas petition does not turn on factual assertions. His claims regarding ineffective

assistance of counsel and error by the court are all resolved by looking at the record alone. Thus,

the Court need not conduct an evidentiary hearing to adjudicate the instant Section 2255 motion.




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    Before the United States’ downward departure motion, Walton’s guideline advisory range was life.


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                                       IV. CONCLUSION


For the reasons set forth above, it is recommended that Walton’s Motion to Vacate, Set Aside, or

Correct his Sentence [Record No. 518], including the claims raised in his supplement and reply

[Record Nos. 533; 572] as well as his request for an evidentiary hearing be DENIED.

       The parties are directed to 28 U.S.C. § 636(b)(1) for a review of appeal rights governing

this Report and Recommendation. Specific objections to this Report and Recommendation must

be filed within fourteen (14) days from the date of service thereof or further appeal is waived.

United States v. Campbell, 261 F.3d 628, 632 (6th Cir. 2001); Thomas v. Ann, 728 F.2d 813, 815

(6th Cir. 1984). General objections or objections that require a judge’s interpretation are

insufficient to preserve the right to appeal. Cowherd v. Million, 380 F.3d 909, 912 (6th Cir.

2004); Miller V. Currie, 50 F.3d 373, 380 (6th Cir.1995).

      Signed April 18, 2014.




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